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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:08CR351
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
JOHN ST. CYR and                                  )
JOSEPH SNOWBALL,                                  )
                                                  )
                     Defendants.                  )


       This matter is before the court on the motion to continue by defendant John St. Cyr
(St. Cyr) (Filing No. 58). St. Cyr seeks a continuance of the trial of this matter which is
scheduled for February 2, 2009. St. Cyr’s counsel represents that St. Cyr will submit an
affidavit wherein he represents that he consents to the motion and acknowledges he
understands the additional time may be excludable time for the purposes of the Speedy
Trial Act. St. Cyr’s counsel represents that government’s counsel has no objection to the
motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       1.     St. Cyr's motion to continue trial (Filing No. 58) is granted.
       2.     Trial of this matter as to both defendants is re-scheduled for March 2, 2009,
before Chief Judge Joseph F. Bataillon and a jury. The ends of justice have been served
by granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between January 27, 2009 and March 2, 2009, shall be deemed excludable time in
any computation of time under the requirement of the Speedy Trial Act for the reason that
one of defendant’s counsel requires additional time to adequately prepare the case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(3)(A).
       DATED this 27th day of January, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
